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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
       24-60018-CR-SMITH/AUGUSTIN-BIRCH
                 CASE NO.                 ----------
                                          18 u.s.c. § 1343
                                          18 U.S.C. § 981(a)(l)(C)                       MP

 UNITED STATES OF AMERICA
                                                                                Jan 30, 2024
 vs.
                                                                                           MIAMI
 WAYNE ALEXANDER GOPIE,

        Defendant.
 -------------
                                         INFORMATION

        The United States Attorney charges that:

                                  GENERAL ALLEGATIONS

        At all times relevant to this Information:

        1.     The Coronavirus Aid, Relief, and Economic Security ("CARES") Act was a federal

 law enacted in or around March 2020 to provide emergency financial assistance to the millions of

 Americans who were suffering the economic effects caused by the COVID-19 pandemic.

                         The Economic Injury Disaster Loan Program

        2.     The United States Small Business Administration ("SBA") was an agency of the

 executive branch of the Government of the United States. The mission of the SBA was to maintain

 and strengthen the nation's economy by enabling the establishment and viability of small

 businesses and by assisting in the economic recovery of communities after disasters.

        3.     The CARES Act authorized and provided funding to the SBA to provide Economic

 Injury Disaster Loans ("EIDLs") to eligible small businesses, including sole proprietorships and

 independent contractors, experiencing substantial financial disruptions due to the COVID-19
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 pandemic to allow them to meet financial obligations and operating expenses that could have been

 met had the disaster not occurred.

        4.      In order to obtain an EIDL, a qualifying for-profit business was required to submit

 an EIDL application to the SBA and provide information about its operations, such as the number

 of employees, gross revenues, and the cost of goods sold for the 12-month periods preceding

 January 31, 2020 or January 31, 2021. The applicant also was required to certify under penalty of

 perjury that all the information in the application was true and correct.

        5.      EIDL applications were submitted directly to and processed by the SBA. The

 amount of the loan approved was determined based, in part, on the information provided in the

 application concerning the number of employees, gross revenues, and cost of goods sold. Any

 EIDL funds were issued directly by the United States government to the applicant's bank account.

                                The Paycheck Protection Program

        6.      The CARES Act also provided relief by authorizing and funding forgivable loans

 to small businesses for job retention and certain other business expenses, through a program

 referred to as the Paycheck Protection Program ("PPP").

        7.      In order to obtain a PPP loan, a qualifying sole proprietorship submitted a PPP loan

 application, which was signed by an authorized representative of the business. The PPP loan

 application required the sole proprietorship (through its authorized representative) to acknowledge

 the program rules and make certain affirmative certifications in order to be eligible-to obtain the

 PPP loan. In the PPP loan application (SBA Form 2483-C), a sole proprietorship without

 employees (through its authorized representative) was required to provide, among other things, the

 total amount of gross income reported on its 2019 or 2020 IRS Form 1040, Schedule C, line 7

 ("Schedule C"). This figure was used to calculate the amount of money the sole proprietorship

 was eligible to receive under the PPP.

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        8.      A PPP loan application was processed by a participating lender.            If a PPP

 application was approved, the participating lender funded the PPP loan using its own monies.

 While it was the participating lender that issued the PPP loan, the loan was 100% guaranteed by

 the SBA. Data from the application, including information about the borrower, the total amount

 of the loan, and the listed number of employees, was transmitted by the lender to the SBA in the

 course of processing the loan.

        9.      PPP loan proceeds were required to be used by the business on certain permissible

 business expenses, such as payroll costs, interests on mortgages, rent, and utilities. The PPP

 allowed the interest and principal on the PPP loan to be entirely forgiven if the business spent the

 loan proceeds on these expense items within a designated period of time and used a defined portion

 of the PPP loan proceeds on payroll expenses.

                              The Defendant and Relevant Entities

        10.     WAYNE ALEXANDER GOPIE was a resident of Broward County, Florida.

        11.     AllStar Logistics and Transport LLC ("ALT LLC") was a limited liability company

 that was registered with the Florida Department of State (Divisions of Corporations) on or about

 May 19, 2020. WAYNE ALEXANDER GOPIE was the listed manager and registered agent of

 ALT LLC.

        12.     Lender 1, based in California, was an approved SBA lender of PPP loans.

        13.     Bank 1 was a financial institution based in New York, New York, and had branches

 throughout the State of Florida, including in Broward County, Florida.

        14.     WAYNE ALEXANDER GOPIE registered a business account for ALT LLC at

 Bank 1 (the "ALT Bank 1 Account").




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                                           Wire Fraud
                                        (18 u.s.c. § 1343)

        15.     From in or around May 2020, through in or around June 2021, in Broward County,

 in the Southern District of Florida, and elsewhere, the defendant,

                                WAYNE ALEXANDER GOPIE,

 did knowingly, and with the intent to defraud, devise and intend to devise a scheme and artifice to

 defraud and to obtain money and property by means of materially false and fraudulent pretenses,

 representations, and promises, knowing that the pretenses, representations, and promises were

 false and fraudulent when made, and for the purpose of executing the scheme and artifice, did

 transmit and cause to be transmitted by means of wire communication in interstate and foreign

 commerce, certain writings, signs, signals, pictures, and sounds.

                        PURPOSE OF THE SCHEME AND ARTIFICE
        16.     It was a purpose of the scheme and artifice for the defendant to unlawfully enrich

 himself by submitting and causing the submission, via interstate wire communication, of false and

 fraudulent applications for PPP and EIDL loans made available through the SBA to provide relief

 for the economic effects caused by the COVID-19 pandemic.

                                 THE MANNER AND MEANS
        The manner and means by which the defendant sought to accomplish the scheme and

 artifice to defraud included, among others, the following:

                                        Fraudulent EIDLs

        17.     On or about July 6, 2020, WAYNE ALEXANDER GOPIE submitted and caused

 to be submitted a false and fraudulent EIDL application on behalf of ALT LLC, seeking an EIDL

 advance disbursement of approximately $10,000, and an EIDL of approximately $135,000. In that

 application, GOPIE falsely and fraudulently certified, among other things, that the company's

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 gross revenues for the twelve months prior to the date of the disaster were $610,000 and that it had

 ten (10) employees.

        18.     Based on the false and fraudulent representations made in the EIDL application and

 accompanying documents, on July 9, 2020, the SBA deposited approximately $10,000 in EIDL

 "advance" funds, and then on July 28, 2020, deposited approximately $135,000 in loan proceeds

 into a bank account controlled by WAYNE ALEXANDER GOPIE at Bank 1 (ending in 0514).

        19.     On or about July 7, 2020, WAYNE ALEXANDER GOPIE submitted and caused

 to be submitted a second false and fraudulent EIDL application on behalf of ALT LLC, seeking

 approximately $134,000. In this second application, GOPIE falsely and fraudulently certified,

 among other things, that the company's gross revenues for the twelve months prior to the date of

 the disaster were $580,000. The SBA rejected this EIDL application.

        20.     On or about February 8, 2021, WAYNE ALEXANDER GOPIE submitted and

 caused to be submitted a third false and fraudulent EIDL application, this time in his own name,

 as a sole proprietor, seeking approximately $150,000. In this third application, GOPIE falsely and

 fraudulently certified, among other things, that his gross revenues for the twelve months prior to

 the date of the disaster were $550,000. The SBA rejected this EIDL application.

                                      Fraudulent PPP Loan

        21.     On or about May 30, 2021, WAYNE ALEXANDER GOPIE submitted and

 caused to be submitted a false and fraudulent PPP loan application through Lender 1, on behalf of

 ALT LLC, seeking approximately $20,571. In this application, GOPIE falsely and fraudulently

 certified, among other things, that the company's gross income for the 2020 tax year was $98,745.

        22.     Based on the false and fraudulent representations made in the PPP loan application

 and accompanying documents, Lender 1 deposited approximately $20,571 into a bank account

 controlled by WAYNE ALEXANDER GOPIE at Bank 1 (ending in 0514).

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                                         USE OF WIRES

        23.     On or about July 28, 2020, in the Southern District of Florida, and elsewhere,

 WAYNE ALEXANDER GOPIE, for the purpose of executing the aforesaid scheme and artifice

 to defraud, and to obtain money and property by means of materially false and fraudulent

 pretenses, representations, and promises, knowing that the promises were false and fraudulent

 when made, did knowingly transmit and cause to be transmitted, directly and indirectly, by means

 of wire communications in interstate and foreign commerce, certain writings, signs, signals,

 pictures, and sounds, that is, a wire transfer of fraudulently obtained EIDL funds in the

 approximate amount of $135,000 from the SBA to the ALT Bank 1 Account owned and controlled

 by WAYNE ALEXANDER GOPIE, causing a wire transmission from outside the State of

 Florida to the Southern District of Florida, in violation of Title 18, United States Code, Sections

 1343 and 2

                                FORFEITURE ALLEGATIONS

        1.      The allegations of this Information are hereby re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of certain property

 in which the defendant, WAYNE ALEXANDER GOPIE, has an interest.

        2.      Upon conviction of a violation of Title 18, United States Code, Section 1343, as

 alleged in this Information, the defendant shall forfeit to the United States, any property

 constituting, or derived from, proceeds the defendant obtained directly or indirectly, as the result

 of such offense, pursuant to Title 18, United States Code, Section 981(a)(l)(C).

        3.      The property subject to forfeiture as a result of the alleged offense includes a sum

 that represents the total amount of funds involved in or derived from the alleged offense and may

 be sought as a forfeiture money judgment.




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        4.      If any of the property subject to forfeiture, as a result of any act or omission of the

 defendant:

                    a. cannot be located upon the exercise of due diligence;

                    b. has been transferred or sold to, or deposited with, a third party;

                    c. has been placed beyond the jurisdiction of the court;

                    d. has been substantially diminished in value; or

                    e. has been commingled with other property which cannot be divided without

                        difficulty,

 the United States shall be entitled to the forfeiture of substitute property under the provisions of

 Title 21, United States Code, Section 853(p).

        All pursuant to Title 18, United States Code, Section 981(a)(l)(C), and the procedures set

 forth in Title 21, United States Code, Section 853, as incorporated by Title 21, United States Code,

 Section 2461(c).


                                                 Si3(Q-Gr,
                                                   MARKENZY LAPOINTE
                                                   UNITED STATES ATTORNEY




                                               � JUAN ANTONIO GONZALEZ
                                                 ASSISTANT UNITED STATES ATTORNEY




                                                   EDUARDO GARDEA, JR.
                                                   ASSISTANT UNITED STATES ATTORNEY




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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                                           24-60018-SMITH/AUGUSTIN-BIRCH
UNITED STATES OF AMERICA                                     CASE NO.:    ----------------
v.
                                                             CERTIFICATE OF TRIAL ATTORNEY
WAYNE ALEXANDER GOPIE,
                                      I                      Superseding Case Information:
 - - ---D-efi=en__ dan
 -                      _ _ t _ _ ----
                                                             New Defendant(s) (Yes or No) ---
Court Division (select one)                                  Number of NewDefendants
   □ Miami □ Key West □ FTP                                  Total number of counts
   l!E.IFTL       □ WPB
I do hereby certify that:
     1.   I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
          witnesses and the legal complexities of the Indictment/Information attached hereto.
 2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
          their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.                            ---
          Interpreter: (Yes or No) No
          List language and/or dialect: ------

 4.       This case will take _0_ctays for the parties to try.

     5.   Please check appropriate category and type of offense listed below:
          (Check only one)                         (Check only one)
          I   mJ O to 5 days                    □ Petty
          II □ 6 to 10 days                     □ Minor
          ill Cl 11 to 20 days                  □ Misdemeanor
          IV □ 21 to 60 days                    [BJ Felony
          V □ 61 days and over

 6.      Has this case been previously filed in this District Court? (Yes or No) _N_o__
         If yes, Judge______ ____ Case No.______________ _
     7. Has a complaint been filed in this matter? (Yes or No) ---No
         If yes, Magistrate Case No.___________ _
     8. Does this case relate to a previously filed matter in this District Court? (Yes or No) _Y_es_ __
         If yes, Judge Cohn                             Case No. 07-CR-60159-COH N
     9. Defendant(s) in federal custody as of ____________________ _
     10. Defendant(s) in state custody as of _____________________ _
     11. Rule 20 from the___ _District of -------
     12. ls this a potential death penalty case? (Yes or No) N_o _ _
     13. Does this case originate from a matter pending in the N01thern Region of the U.S. Attorney's Office
         prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) ---    No
     14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
         prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) --- No
     15. Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
         during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? N_        _
                                                                                                      _ o _

                                                             By:�
                                                               �< JUANA.NT OGONzALEZ
                                                                  Assistant United States Attorney
                                                                  FL Bar No.      897388
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

 Defendant's Name:       WAYNE ALEXANDER GOPIE

 Case No: -------------------------------

  Count#: 1

 Wire Fraud

 Title 18, United States Code, Section 1343
 *Max.Term of Imprisonment: Twenty (20) Years
 *Mandatory Min. Term of Imprisonment (if applicable): NIA
 *Max. Supervised Release: Three (3) Years
 *Max. Fine: $250,000 or Twice the Gross Gain or Gross Loss Resulting from Offense




   *Refers only to possible term of incarceration, supervised release, and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
